67 F.3d 298
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Phillip James SOFFOS, Defendant-Appellant.
    No. 95-6762.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  September 21, 1995.Decided:  October 4, 1995.
    
      Phillip James Soffos, Appellant Pro Se.  John Francis Purcell, Jr., Office of the United States Attorney, Baltimore, MD, for Appellee.
      Before RUSSELL, MURNAGHAN, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm substantially on the reasoning of the district court.  United States v. Soffos, Nos.  CR-91-320-S;  CA-95-1112-S (D.Md. Apr. 17, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    